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                 IN TH E U N ITED STATE S D IST RICT COU RT                     d2? 15 2218
                 FO R TH E W E STE RN D IST RICT O F W RG IN IA
                                                                             JUL C.
                          H ARRISON BU R G D IW SIO N
                                                                            sx ;
                                                                               DEiUDUDLEMCLEM
                                                                                           -   =. e.
U N ITE D STATE S OF AM RRICA,
                                            Crim inalAction N o.5:12cr00030


JEAN PAUL ALVARADO                          By:M ichaelF.Urbanski
                                               ClziefUnited StatesDistrictJudge
                             M E M O RAN D U M O PIN IO N

      JeanPaulAlvazado,afederalinmateproceedingpê-q.
                                                   K ,hasfiledamoéon tovacate,
setaside,orcorrecthissentencepursuantto 28 U.S.C.j2255.Thegovernmentflled a
response,asking thatthe peétion be denied,to wlaich A lvarado hasreplied.A fterreviewing
                                                                                      .




therecord,thecotutconcludesthatAlvarado'sj2255moéon mustbeDEN IED.
      Alvarado wasnam ed in a one-countindic% entcharging bim with knowingly and

intenéonany distributing a m ixture and substance contairling adetectable nm ountofheroin,

andhztthezchazgingthatseriousbodilyinjutyanddeathresultedfrom theuseofsuch
substance,allinviolationof21U.S.C.jj841(a)(1)and (b)(1)(C).Thesechatgesstem from
the M arch 29,2011 death ofEricThom asfzom a fltnlg overdose.

       On May 16,2013,afterafourdaytdal,thejuryreturned ap.
                                                          1.
                                                           111 verdictagainst
A lvarado on the charge ofknowingly and intentionally distributing am ixtate orsubstance

containingadetectableamountofheroinonotaboutMarch29,2011.Thejuryfutther
found thatthegovernm entproved beyond areasonable doubtthatdeath resulted from the

use ofheroin distributed by Alvarado on ot aboutM arch 29,2011.D uring the course ofits

deliberadons,thejurytwiceasked thecourtto ftlrtherexplainwhatffresultsfrom'?means,
wllichthecolzrt,withoutobjecdonofcounsel,declinedtodo,followingtheSeventh


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Circuit'sopinioninUnitedStatesv.Hatfield,591F.3d945(7thCir.2010).Atthetimethe
juzy soughtclarification,Buzza ev.UzzitedStates,571U.S.204(201$,whichulrimately
provided thatcladfication,wassti
                               lleightm onthsoff.

       Alvarado'sj2255peddon focusesflrstonthisissue,clniming thathistrialcounsel
wasineffectiveforfailingtoobjecttothecourt'sdecisionnottofllttherexplainffrestzlts
from''in responseto thejury'squesdons.Alvarado'ssecondclaim also relatesto causadon,
argaing thathewaslegally,factually,and acm allyinnocentofthe charge ofdistdbue g

heroin thatwastheindependentorbut-forcauseofThom as'death.Alvarado arguesthatit

wasacom binaéon ofXanax and heroin thatlrilled Thom as,and that,atm ost,heroin wasa

contributing cause.Following Burra e,Alvarado arguesthatthecontdbutoryroleplayed by

the heroin w aslegally insufhcientto establish but-forcausadon required forthe enhanced

stattztorypenaltp Lastly,Alvarado arguesthathistrialcounselwasineffective for failing to

argue thatprosecudon wasracially m otivated,denying him dueprocessand equalprotecdon

ofthe laws.

                                                 A.

       W ith respectto Alvarado'sflrstcbim ,becausetheFourth Circtzitheld thatthe

districtcourt'sdecisionnottoclazifyorreinstructthejupronthemearzingoftheterm
ffresultsfrom''wasnoterroneous,itcannotbesaidthatcounsel'sfaillzreto objecttothat
l'uling constim ted deficientperform ance underStticlcland v.W asllington,466 U .S.668

(1984).SeePrtzettv.Thom son,996F.2d 1560,1577 (4th Cir.1993)rY eareofopinion
thatitisnotineffecéve assistanceofcounselto failto offetaddiéonalordifferent

instrucdonsiftheonesgiven bythetrialcourtarepropez.Thisquesdon (ofineffecéve

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assistanceofcounsel)iseasl
                         'lyresolvedherebecausetheinstructiongivenwasproper.');
Brile v.Bass,750F.2d 1238,1242-44(4thCir.1984)(disnnissingpetitionez'scbim thathis
counselwasineffectiveforfailingtoobjectto ajuryinsttuction thatthecourtalteadyfound
to beproper);Moorev.United States,934F.Supp.724,731 (E.D.Va.1996).Forcounsel's
perform ance to qualify asconsétudonally dehcient,Alvatado m ustshow ffthatcounselm ade

errorsso seriousthatgheorshejwasnotftmctioningasthedcounsel'guaranteed Fojthe
defendantbytheSixth Amendment.''Stdckland,466U.S.at687.<<(Aqcolnt'tmustindulgea
strong presum péon thatcounsel'sconductfallswithin thewiderangeofreasonable

ptofessionalassistance;thatis,the defendantm ustovercom e thepresum ption that,under

thecircumstances,thechallenged acdon nlightbeconsideted soundttialstrategy.''Ld.aat
689.

       The courtchose to lim ititsinstrucdon to thelanguageofthe stam te,concerned that

anyattemptatFlzttherKfclarificaéon''ofTfrestzltsfrom''wouldexacerbatethejury's
confusion.UnitedStatesv.Alvarado,816F.3d242,248(4thCir.2016),cert.denied,137S.
Ct.492(2016).TherecordindicatesthatAlvarado'scounselsharedwhattheFourthCitcuit
describedasthedistrictcotut'sTflegitimateconcetny'andthereforeshedecidednottoobject
tothejury'sapplicaéonoftheorclinal'ymeaningofTfresultsfrom.''Id.at244,248.Her
decisionnottoobjecttotheinsttuction,madeafterconferringwith130ththecourtand
government,ispreciselythesortjudgmentcallinfotmed bystzategicconsideradons,i.e.,
potendalconfusion ofthejury,thatcourtsmustaccord high deference.SeeUnitedStatesv.
Mason,774F.3d 824,830 (4th Cir.2014).




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      The Suprem e Court'sholding in Burra ev.United States,on wlaich Alvarado relies

forllisineffecdvenessclnim ,furthersuppottsthe court's finding thatitwaszeasonable foz

counselnotto objectgiven theaforemendonedrisk ofconfusion.571U.S.204 (2014).In
Burra e,theSuprem e Courtheld thattheTfozdinaty,accepted m eaning''offfresultsfrom ''

clearlyim posesa fdbut-for''causation requitem ent.Id.at210-11.Though decided afterthe

casesubjudice,Burra e suggeststhatitwasreasonableforcounselto concludethatthe
stataztorylanguagealoneim plied the apptopriatebut-forcausaéon requirem ent,and that

furtherexplanadonwasunwarranted.In sum,itwasreasonableforcounselnotto objectto
the cotzrt'sinstruction,which com ported with contzolling law,whereshebelieved the risk of

obfuscating the ordinarym eaning offfresultsfrom ''outweighed thenodonalbenefhsofan

addiéonalinstruction.Thisisallthem orett'uegiven thatpasteffortsto clarifythesam e or

sim ilarlanguagewere eitherunsuccessfulordeem ed ill-advised.See e. .,United Statesv.

Hatfield,591F.3d945(7thCir.2010)Soldingthatthetrialcourtimproperlyrefusedto
stdkeportion ofjuryinstrucdon asaconfusingglosson thestamtorytet.m ffresultsfrom');
UnitedStatesv.W alton,207F.3d694,698(4thCir.2000)(enbanc)(ffL'
                                                             W jeremain
convinced thatattem pting to explain thewordsçbeyond areasonable doubt'ism ore

dangerousthanleavingajurytowrestlewithonlythewozdsthemselves.').Thecaselaw in
existenceatthe tim e oftrialand potentialfor furtherconfusion m ilitated agoinstthe court's

providing an addidonalinstrucdon,and by extension,suppotted counsel'sdecision notto

raisean objecdon to thesame.Thus,Alvaradocannotshow thatlliscounsel'sdecision not
to objectto thecoutt'sinsttucdonsamountedto ffincompetenceundetfptew iling
professionalnot-ms.'''Premo v.Moore,562 U.S.115,122 (2011).

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      NorcanAlvaradosadsfyStrickland'sprejuclicepzong,wlaichrequiresashoV ngthat
hadcounselnotmadetheallegederror,thereisasubstantial,notjustconceivable,likelihood
ofadifferentrestzlt.Harrington v.mchter,562U.S.86,112 (2011)(ciéngStricldand,466
U.S.at693-94)).ln lightoftheevidenceadduced atttial,Alvarado can makeno such
showing.TheFotzrth Circuitfoundnotonly thatTfgtjherewasno evidencein thiscasethat
would allow ajuryto find thatheroinwasonlyanonessentialcontdbuéngcauseofThomas'
deathy''butalso thatTfgtjhe0.
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                            .
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                             1.
                              yevidencepresentedwasthat,butfoztheheroin,deathwould
nothaveresulted.';Alvarado,816 F.3d at248-49.In othetw ords,ffin the contextofthe

recordin thiscase,Buzza edoesnothelpAlvarado.''J.I.
                                                  L at249.Indeed,astheFourth
Circtzitnoted,D r.Suzuld,the onlywitnessto tesdfy on causation,stated in no uncertain

terms,Tfit'stheheroinin F hom as'jblood ...thatcaused llisdeatlx''and ffwithoutthe
heroin,Fhomas)doesn'tdie.':Id.Therefore,ratherthan therebeing asubstanéallikelihood
thattheresultwouldhavebeendifferenthadthejuryreceivedanexplicitbut-forinstrucéon,
the evidencestrongly suggeststhat,to the contrary,thereisasubstandallikelihood thatthe

resultwouldhavebeen thesame.Seee..,W a ev.Townle ,871F.2d18,21(4thCir.1989)
(<f1nlightoftheoverwhelmingevidenceinttoducedattdal....gdefendantqcannotshow that
ffthereisareasonableprobabilitythat,butforcounsel'sunprofessionalgezrorj,theresultof
theproceedingwouldhavebeen clifferent.''(citadon omittedl).
      In short,becausetheFourth Circuithasheld thatdistdctcourt'sdecision notto

reinstrtzctthejuryon themeaningoft<resultsfrom''wasnoterror,Alvaradocannotestablish
thatcounsel'sfailureto objectorinsistupon an addidonalinsttazction consdtutesineffecdve
assistance.Norcan heestabzsh Strickland'sprejudiceprong,astheFourth Circuitheld that



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the record w asunam biguousthatthe hezoin distdbuted by Alvarado wasthebut-forcause

ofThomas'death.id.at249.Objection oznot,theFouzth Circuitheld on directzeview thàt
thedistrictcotzrt'sdecision notto reinstructthejurywascorrect.Underthesecirctmastances,
theclnimedfailuretoobjecttoalegalrulingapprovedbythecouttofappealsonditect
review cannotsupportan ineffecdve assistance ofcounselcollateralchallenge.

                                                  B.

       Alvarado'ssecond clnim regarcling acttzalinnocenceisforeclosed by the Fourth

Citcuit'sopinion on ditectappeal.Specifically,the Fourth Citcuitt'uled asfollow s:

       W e afflmn.Fitst,we conclude that, because there was no evidence in the
       recordthatThomascouldhavediedwithoutthehetoin,thejury'sverclictwas
       necessarily consistent with the Suprem e Court's requirem ent of but-for
       causation.As a result, the clisttict court's decision not to elaborate on the
       m eaning ofthe statutory results-in-death language did notam ountto an abuse
       of.discretion,1etaloneplain error,in lkhtofthecourt'slegiémate concerns
       aboutconfusingthejury.
M varado,816 F.3d at244.The Fourth Citcuit,afteran exhaustivereview,found thatthe

only evidencein the record asto causaéon,theuncontradicted testim ony ofVirginia's

A ssistantChiefM edicalExam inez,D r.G ayle Suzuki,who perform ed the autopsy on

Thom as,pinpointed theheroin asthe causeofThom as'death,withoutconttibution from

theX anax and Benadrylalso fopnd in hissystem .Second,the Fourth Circuitfound no error

in the clistrictcourt'sdeclinaéon to further explain the term ffresultsfrom ''found in 21

U.S.C.j841$)(1)(C).TheFotuth Citcuh stated:
       In light ofBurra e and in the contextof this case,we do not :nd that the
       districtcourtabused itscliscreéon,1etalone çom m itted plain error,in refusing
       to attem pta clarifkadon offfzesults from .''Therew asno evidence in thiscase
       that would allow a jury to find that heroin was only a nonessential
       contdbuéng causeofThomas'death.Cf.Burra e,134 S.Ct.at890 (<t      W e do
       not accept or zeject the special rule developed for (cases where multiple
                                              6
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      sufikient causes independently,but concurrently,pzoduce a restllt), since
      therewasno evidenceherethat(thevictim'sqheroin usewasanindependently
      sufhcientcauseofllisdeatlf).AsDr.Suzuki,theonlyperson who testiûed on
      causadon,stated,dTit's the hezoin in rfhomas'j blood ...thatcaused his
      death,''and ffwithouttheheroin,Fhomas)doesn'tdie.''Indeed,sheexplained
      futther that neither the X anax nor the Benadryl ffcontributed to''Thom as'
      death.M oreover,no party suggested that,even without the heroin,Thom as
      would have died.The Qs-y
                            .   l evidence presented was that,but for the heroin,
      death would nothave zesulted.As such,any hypothesisthatthe juty was
      allow ed to convictAlvarado because the heroin played m erely a nonessendal
      contributing role in Thom as' death has no support in the record.In tlnis
      context,the distdctcourt'sdecision notto Glttherdefine ffdeath resultsfrom ''
      cannotbe found to bean abuseofdiscredon,1etalonepbitnetror.

ld.at248-49.

      In sum,theFourthCircuitconcludedthattheevidencesupportedthejury'sfinding
ofbut-forcausation underBtura e.A sthisissuewasdeteznained on directappeal,Alvatado

hasno basisfora habeascbim .Itiswellsettled thatdefendantcannotfdcircllmventaproper

l'uling ...on ditectappealbyre-raising thesamechallengein aj2255moéon.''U/ted
Statesv.D ess,730F.3d354,360(4thCir.2013)(quodngUnitedStatesv.Lindez,552F.3d
391,396 (4th Cir.2009)9seealsoUrlitedStatesv.Roane,378F.3d 382,396 n.7 (4th Cir.
2004)(nodngthat,absentTTanychangein thelam ''defendantsfTcannotrelitigate''previously
decidedissuesin aj2255moéon);Boeckenhau tv.UnitedStates,537F.2d 1182,1183 (4th
Ciz.1976)(holdingctiminaldefendantcannotTfrecast,undertheguiseofcollateralattack,
quesdonsfullyconsideredbythiscourtgon directappeall').
                                          C.

      A lvarado'sfinalclnim ,thathiscounselw asineffectiveby fniling to atguethathewas

sentenced in am annezinconsistentwitlnBuzzage because oflaisraceislikewiseunavailing.

On directappeal,theFourth Circuitheld thattheevidencesupported thejurfsverdict

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undetBvura e,and Alvarado hasbzoughtforwatd no evidenceto supporthisconclusory

cbim thathewaschargedwith aviolaéonof21U.S.C.j8419$(1)(C)fordrtagdisttibudon
resuldngindeathorseriousbodily1tj1.
                                  11-ybecauseofhisrace.Assuch,Alvarado'sthitdclnim
also m ustbe disnnissed.

      In sum ,Alvarado'shabeaspeddon isfounded on hisview thattheevidence

presented attrialwasinsufficientto establish causation underBurrage and thatthe distdct

courterredwhen itfailed toprovideaddidonplinstruction tothejuryonthemeaningofthe
statutory TTresultsfrom ':language.Each ofthesearpxm entswasexhausdvely considered by

the distzictcotzrtin itsm em orandum opinion denying Alvarado'sm odon to reconsiderhis

Rule 29 m oéon in lightofBurra e,ECF N o.113,and by theFourth Circuiton direct

appeal.Given the Fourth Citcuit'ruling on ditectappeal,Alvarado'srepedévehabeas

peééon m ustbe dism issed.

       An appropriate Orderwillbe entered.



                                                Entered'
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